Case 3:23-cv-03417-VC Document319 _ Filed 12/09/24 Pagelofi1

December 9, 2024
E-Filed

The Honorable Thomas S. Hixson

US. District Court for the Northern District of California
450 Golden Gate Avenue

San Francisco, CA 94102

Re:  Kadrey, et al. v. Meta Platforms, Inc.; Case No. 23-cv-3417-VC (TSH)

Dear Judge Hixson:
Plaintiffs submit this supplement to the parties’ joint letter brief filed 12/4 at Dkt. No. 309.

Meta argued that Plaintiffs’ privilege challenges were “unripe” because Meta had not yet
served a corresponding privilege log. Meta also represented it would “expedite” and serve its log
on December 6. As it turns out, Plaintiffs were right not to wait for Meta. The 12/6 Log contains

just
. See Attach. A. Yet since early

October, Meta has produced more than 200 redacted documents and has withheld an unknown
number. Plaintiffs apparently will receive Meta’s fu// privilege log right at the discovery cut-off.

Meta’s paltry 12/6 Log confirms that Meta cannot establish attorney-client privilege over
any of the 13 challenged documents
are business documents with improper redactions.

Meta’s inability to identify an actual attorney (even once it already knew
Plaintiffs were challenging these documents) further demonstrates Meta cannot satisfy its burden.
This Court can—and, respectfully, should—order Meta to produce these documents in full, without
the need to conduct in camera review. See, e.g., Epic Games, Inc. v. Apple Inc. , 2024 WL 4947269,
at *1 (N.D. Cal. Dec. 2, 2024) (Hixson, J.) (“Privilege does not descend like a giant fog bank over
every document that is in some way connected with an effort to achieve legal compliance.”).

Further, the 12/6 Log is nfe with vague descriptions like

Based on the context and lack of attorney involvement, the redactions likely reflect Meta
businesspeople who merely reference copyright issues and/or tag counsel. That is not /egal advice
and is nowhere near enough to substantiate privilege, see Epic Games, 2024 WL 4947269, at *1
(“A business analysis of ways to comply with a legal requirement is not privileged”), let alone
sufficient to satisfy the “primary purpose” doctrine even if there were any legal advice or request.

The inadequacy of Meta’s 12/6 Log warrants outright production of these 14 documents
and an admonition to apply the Court’s order across the other documents Meta has similarly
redacted and withheld improperly. Plaintiffs do not oppose in camera review if the Court prefers.

/s/ Maxwell V. Pritt

Maxwell V. Pritt

Boies Schiller Flexner LLP
Interim Lead Counsel for Plaintiffs

